          Case 1:18-cr-00567-VSB Document 161 Filed 01/16/20 Page 1 of 3




January 16, 2020
                                                                                     Jonathan B. New
                                                                                     direct dial: 212.589.4650
                                                                                     jnew@bakerlaw.com

VIA ECF


Honorable Vernon S. Broderick
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

Re:     United States v. Christopher Collins, et al., No. 18-cr-567 (VSB) (S.D.N.Y.)

Dear Judge Broderick:

       We are counsel for Defendant Christopher Collins in this matter and write regarding the
Court’s January 15, 2020 Order, ECF No. 157, in particular items 10, 22, and 24 of the Order,
wherein the Court requested the following:

        10)      What time did Innate issue its press release on June 22, 2017?1

                          Please see Exhibit A.

        22)      On pages 36 and 37 of the defense submission, there are references to a letter
                 submitted by former Innate CEO. In his letter, the former CEO states, among
                 other things, that Christopher Collins wrote to him soon after his guilty plea.

                 a) Please provide a copy of Collins’s correspondence referenced in the former
                    Innate CEO’s letter.
                 b) Please provide copies of any correspondence about this case from Collins to
                    individuals who have submitted letters in connection with sentencing. (See
                    Doc. 156.)


1
 Please note the press release was issued at 12:53pm on June 23, 2017 in Australia, which equates to 10:53pm
Eastern Standard Time on June 22, 2017.
           Case 1:18-cr-00567-VSB Document 161 Filed 01/16/20 Page 2 of 3


Honorable Vernon S. Broderick
January 16, 2020
Page 2


                  c) Please provide information concerning public requests by Collins or others
                     acting on his behalf soliciting letters from former constituents or others.

                           Please see Exhibit B.

         24)      What is the legal or factual authority for the statement made on pages 43 to 44 of
                  the defense submission that “The mere fact of a career-ending felony conviction
                  generally deters bad conduct among first-time offenders, who largely comprise
                  the class of insider-trading defendants. This is particularly true in the case of a
                  convicted Congressman whose offense did not concern the misuse of his office.”

        As Ellen S. Podgor observes, “[t]he corporate white collar offenders of today are
typically individuals who have never been convicted of criminal conduct and are now facing
incredibly long sentences as first offenders.” The Challenge of White Collar Sentencing, 97 J.
CRIM. L. & CRIMINOLOGY 731, 732–33 (2007). This is consistent with the Sentencing
Commission’s observation that in fiscal year 2017, 85.6% of Economic Crime Offenders in the
Securities and Investments subcategory were criminal history Category I.2 See USSC, “What
Does Federal Economic Crime Really Look Like” (2019) available at
https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-
publications/2019/20190130_Econ-Crime.pdf.

        The conviction alone, and the related shame and stigma, is often substantial punishment
that serves a deterrent effect. See, e.g., Gupta, Sentencing Tr. at 54:3-6, wherein Judge Rakoff
observed “[a]s to specific deterrence, it seems obvious that, having suffered such a blow to his
reputation, Mr. Gupta is unlikely to repeat his transgressions, and no further punishment is
needed to achieve this result.” Accord United States v. Yeaman, 248 F.3d 223, 238 (3d Cir. 2001)
(Nygaard, J., dissenting in part) (“it is widely recognized that the duration of incarceration
provides little or no general deterrence for white collar crimes.”).

         Yeaman cites for this proposition A. Mitchell Polinsky & Steven Shavell, On
the Disutility and Discounting of Imprisonment and the Theory of Deterrence, 28 J. LEGAL
STUD. 1, 12 (Jan.1999), wherein the authors conclude that for individuals committing white
collar crimes, the probability of being apprehended and incarcerated is a powerful deterrent in of
itself, because the “disutility of being in prison at all may be substantial and the stigma and loss
of earning power may depend relatively little on the length of imprisonment.” (emphasis added).
Peter J. Henning reaches a similar conclusion, in considering the case of Ty Warner, the
billionaire owner of Ty, Inc.:

         [C]onsider the case of another defendant, Ty Warner, the billionaire owner of Ty,
         Inc.-the company that makes ”Beanie Babies” . . . In 2013, Warner pleaded guilty

2
  Technically, these offenders could have a single history point or ancient convictions, but there is nothing to
indicate any frequency of this.
         Case 1:18-cr-00567-VSB Document 161 Filed 01/16/20 Page 3 of 3


Honorable Vernon S. Broderick
January 16, 2020
Page 3


       to hiding a Swiss bank account for a number of years that, at its peak, held about
       $100 million, evading about $5.5 million in taxes on its earnings. He paid the back
       taxes, plus a penalty, in a civil settlement with the Internal Revenue Service.
       Rejecting the government's recommendation that the court impose a prison
       sentence of at least some modest length for the tax violation, Judge Charles Kocoras
       instead opted for only probation. During the sentencing hearing, the judge said that
       he was persuaded by a number of letters submitted on the defendant’s behalf in
       finding that “Mr. Warner's private acts of kindness, generosity and benevolence are
       overwhelming. Never have I had a defendant in any case-white-collar crime or
       otherwise-demonstrate the level of humanity and concern for the welfare of others
       as has Mr. Warner.” Judge Kocoras discounted the deterrent effect a prison
       sentence might have on others, noting that Warner's case was “highly-publicized”
       and “the public humiliation and reproachment Mr. Warner has experienced is
       manifest. Only he knows the private torment he has suffered by the public
       condemnation directed at him.” In imposing a two-year term of probation and 500
       hours of community service, along with a $100,000 fine, Judge Kocoras said, “One
       of the considerations for me is whether society would be better off with Mr. Warner
       in jail or whether it would be best served by utilizing his talents and beneficience
       [sic] to help make this a better world.”

Peter J. Henning in Is Deterrence Relevant in Sentencing White-Collar Criminals? 61 WAYNE
L. REV. 27, 29–30 (2015) (emphasis added). See also Dan M. Kahan & Eric Posner, Shaming
White-Collar Criminals: A Proposal for Reform of the Federal Sentencing Guidelines J. OF LAW
& ECON Vol. 42 No. S1 (Apr. 1999) p. 365–392

       We will, of course, be prepared to discuss these matters in detail at the sentencing
tomorrow, Friday, January 17. In advance of the hearing we respectfully submit the enclosed
documentary materials related to the above-categories. We hope the enclosures are helpful in the
Court’s consideration of the issues.

Respectfully submitted,

/s/ Jonathan B. New
Jonathan B. New
Jonathan R. Barr
Kendall E. Wangsgard
BakerHostetler LLP
212.589.4650

Counsel for Christopher Collins
Enclosures
cc: All Parties (via ECF)
Case 1:18-cr-00567-VSB Document 161-1 Filed 01/16/20 Page 1 of 6




                 &YIJCJU"
010213434                                       5667869 161-1
                       Case 1:18-cr-00567-VSB Document   6 ÿÿ 9Filed
                                                                   ÿ 801/16/20
                                                                         ÿÿ5   Page 2 of 6
                   5667869 6 5667869 6 ÿÿ 9ÿ 8
+9 ÿ6
 9                 5667869 6 ÿÿ 9ÿ 8
+9
!7 6ÿ6%7 76      9ÿ 8ÿ!7 6ÿ667869 6 ÿ%7ÿ                                                                            $7/6ÿ7ÿ75ÿ& / 
                       #555,6ÿ#77258,96&5+62,#!ÿ$#7#,60ÿ:##$;
5667869 6              &  ÿ  6ÿ3'1421340*ÿ6ÿ3'1421340*
   ,7-              58,#!6ÿÿ96/ ÿ7%ÿ97 6ÿ97
   667869 6                7 3ÿÿÿ678ÿ ÿ986ÿ97 ÿ%7ÿÿ97 6ÿ?@AÿCADÿEFGAÿHIÿ<J?K<ÿ ÿ 7ÿ%7ÿÿ%8ÿ7ÿ7%ÿ5
                            <==><
                            5ÿ !7 ÿ5ÿ31ÿ8 6ÿ)ÿ0*ÿW6ÿ34cd`edÿJ\
   +.78ÿ6/ÿ       97 ÿ8 ÿÿÿ97 6
    9ÿ%7ÿ        ÿ 7ÿ%7
   667869 6               +.78ÿ97 ÿ8 ÿÿÿ97 6
0. 6                                                       5667869 6 ÿ ÿÿ##$
5ÿ31ÿ7                       LMNA                       OPHEAÿIACIQ
                                                                                  ,rII
                                                                                                         RAMGSHCA                  I
                       I2 %8ÿ#6%7 76
                        L _ l_ _                   11


!7 ÿ6ÿ 97       3'1421340*                                                       ,6/ÿ9
!6/                 03T'ÿ+7                                                           ÿ'ÿ/ ÿ''T'U4
!987
297 6/ÿ%7               97ÿ6ÿ 6ÿÿ97 6ÿ667869 6 ÿ8 ÿ76ÿ97 8
)6ÿÿ73                Vÿ6ÿ ÿ8  ÿÿ.ÿ%7 ÿ0ÿW68ÿ0XXYÿ7ÿ'4ÿW86 ÿ344'
473ÿ& 7            +.78ÿ97 ÿ8 ÿÿÿ97 6
                             ##$ÿ96/ ÿ7ÿ5,
                       ZHADHC[ÿ\MP]ANÿJCCF^CEA_ACNI`
                       2 ÿ7%ÿ57 ÿ597ÿ&  ÿ.76ÿ244ÿ ÿ.ÿ%%98ÿ99 6/ÿ+0)ÿ667869 6 ÿ 7 ÿ698
                        7ÿ767aÿ63ÿ798 6 aÿ6ÿ ÿÿ7 ÿ 6/ÿ6ÿ ÿ+0)ÿb ÿ97 6ÿ78ÿ767ÿ
                        ÿ.76ÿ7%ÿ ÿ% ÿ57 ÿ597ÿ&  ÿ,7ÿ9 93ÿ9ÿ.76ÿ78ÿ.aÿ7 6ÿ57 ÿ597ÿ&  aÿ993
                       76ÿ-9 -aÿ 6ÿ993ÿ-578ÿ57 ÿ&  ÿ24-




 1197 81191667869 6 7 !7 "!7 ##$" % &" &   3'(3)42(3)340*                                                          010
Case 1:18-cr-00567-VSB Document 161-1 Filed 01/16/20 Page 3 of 6




                %JWJEFS1BHF

  *OUFOUJPOBMMZ-FGU#MBOL
                   Case 1:18-cr-00567-VSB Document 161-1 Filed 01/16/20 Page 4 of 6




                                                              •ASX
                                                MARKET RELEASE
                                                                                     23 June 2017




                                                Innate lmmunotherapeutics Limited




                                                           TRADING HALT




              The securities of Innate lmmunotherapeutics Limited (the "Company") will be placed in Trading Halt Session
              State at the request of the Company, pending the release of an announcement by the Company. Unless ASX
              decides otherwise, the securities will remain in Trading Halt Session State until the earlier of the
              commencement of norma l t rading on Tuesday, 27 June 2017 or when the announcement is released to the
              market.




               Security Code:             Ill
    (( )
         )1

    ((   .J) George Tharian

l
I             ADVISER, LISTINGS COMPLIANCE (SYDNEY)
          Case 1:18-cr-00567-VSB Document 161-1 Filed 01/16/20 Page 5 of 6

                                                       Innate
                                                       lmmunatherapeutics
                                                                                          ABN 16 165 160 841



         23 June 2017

         Mr. George Tharian
         Adviser, Listings Compliance (Sydney)
         Australian Securities Exchange

         George.Tharian@asx.com.au
         &
         tradinghaltssydney@asx.com.au

                                             REQUEST FOR TRADING HALT



         Innate lmmunotherapeutics Limited (ASX Code : Ill) requests a Trading Halt in the securities of Ill
         effective immediately this Friday 23 June 2017.

         For the purposes of Listing Rule 17.1, Ill provides the following information:

         a)    The Trading Halt is necessary as the Company has received results from its Phase 2B trial of
               M IS416 in patients with secondary progressive multiple sclerosis (SPMS).

         b)    The Company requests its securities remain in a trading halt for two days to resume trading on
               Tuesday 27 June 2017.

         c)    The event which the Company expects will end the trading halt will be the lodgement of an
               announcement regarding the results of the trial.

         d)    The Company is not aware of any reason why the trading halt should not be granted.
    ./

         Yours sincerely,




         .;;/A~~fj-
         Company Secretary
(   )




                                   Suite 401, 35 Lime Street, Sydney 2000, Australia
                                AU Phone: +61 2 8003 3650 NZ Phone: +64 9 525 0532
                                            Email info@innateimmuno.com
                                                 www.innateimmuno.com
                          Case 1:18-cr-00567-VSB Document 161-1 Filed 01/16/20 Page 6 of 6




                         About Innate lmmunotherapeutfcs
                         Innate lmmunotherapeutics Limit ed is an Australian biotechnology company with an exciting technology that targets the
                         human innate immune system. The innate immune system is the body's first line of defence against external disease
                         ca using pathogens such as bacteria and viruses, and internally caused diseases such as cancer. Disorders of the immune
                         system can also cause or contribute to diseases such as multiple sclerosis. While the innate immune system is responsible
                         for mounting the body's initial defence against th reats, it also plays a critical role in controlling the overall immune
                         response and many for the body's tissue protective and reparatlve functions.

                         SPMS - The Significant Unmet Medical Need

((
                         Multiple sclerosis is a chronic disabling condition where the body's immune system attacks the myelin sheath surrounding
                         nerve fibres. The damaged myelin forms scar tissue which distorts or interrupts nerve impulses, disrupting the ability of
                         parts of the nervous syst em to communicate properly. This can result in a wide range of symptoms, including loss of
                         balance, muscle coordination, difficulty walking, slurred speech, tremors, stiffness, cognitive impairment, depression,
                         fatigue and bladder problems.

                         Within 15 years of being diagnosed with the early 'relapsing-remitting' stage of MS, and despite the 12 drugs approved to
 ,,. I                   treat this early stage of disease, about 60% of sufferers go on to develop a more advanced progressive form of disease -

VI!.)'                   SPMS. After 20 years the number of SPMS sufferers increases to about 75%. There are currently no approved drugs for
                         the effective ongoing treatment of SPMS. The Company's clinical development of M IS416 seeks to address this important
                         unmet medical need and significant commercial opportunity.
0-ljj                    About MIS416
                         The microparticle, MIS416, is a biologically derived novel immune modulator which can uniquely target both the regulatory
          .,.,           and defensive functions of the innate immune system. MIS416 targets myeloid cells, a sub-set of innate immune cells not
           ,,'           currently targeted by any other drugs in development for the treatment of SPMS.

                         Myeloid cells can play an important role inside the brain of a patient wit h SPMS by down regulating inflammation, helping
                         clear myelin debris, and upregulating t issue repair processes.
I,
                 I




(r
, .,
     ~/




          ,.II
                     J




1· •
             I
          ·'i
Case 1:18-cr-00567-VSB Document 161-2 Filed 01/16/20 Page 1 of 11




               &YIJCJU#
           Case 1:18-cr-00567-VSB Document 161-2 Filed 01/16/20 Page 2 of 11

Simon Wilkinson

From:                              C C Collins
Sent:                              Tuesday, 8 October 2019 05:38
To:                                Simon Wilkinson
Subject:                           Issues
Attachments:                       Sentencing Letters (10 4 19).pdf

Follow Up Flag:                    Follow up
Flag Status:                       Flagged


Simon, I'm certainly in a terrible spot as a result of my stupid, tragic, rash, inexcusable decision to call Cameron that
fateful night. No excuse, but I was racked with emotion and certainly not thinking straight. I know I was devastated
that all our potential to treat SPMS was gone and the compassionate patients would no longer be able to access the
drug. And now that rash decision has devastated my family and put Cameron in serious jeopardy. Pleading was the
right decision, especially for Cameron who is my primary focus.

I am asking a lot of you, but if you would be willing to write a letter to the Judge explaining my support for the
Company over many years, that could help at sentencing. I've always been proud of my service to my community as
Erie County Executive and to the nation as a Member of Congress, I always worked hard and did my best to serve
my constituents.

The attached document gives details on the letter if you are willing to write one. I know I let down a lot of people, and.
apologize profusely for that.

I hope Amplia is doing well. On a side note I've transferred my 3+ million shares to Mary as of October 1, 2019. Her
stock is held at Fidelity Investments, I think we only own 6% of Amplia with the new stock that was issued, so we are
under 10% which may mean we are no longer considered a significant shareholder. Is there anything we need to do
relative to that transfer?

Thanks again for our years of friendship. I think of you often as I continue to follow Amplia.

All the best to you, Robert and Andrew as you continue to work on life saving drug development,       Chris




                                                            1
Case 1:18-cr-00567-VSB Document 161-2 Filed 01/16/20 Page 3 of 11




                  %JWJEFS1BHF

     *OUFOUJPOBMMZ-FGU#MBOL
                 Case 1:18-cr-00567-VSB Document 161-2 Filed 01/16/20 Page 4 of 11




From: C C Collins
Sent: Saturday, Oc o er ,
Subject: Letters to the Judge

Subject: Letters to the Judge

I w ant to thank you for your continued support during this difficult time. It has been a mortifying experience on me and the
entire family. I feel like I've let everyone down, but our decision to plead guilty is the right decision for Cameron and the
family. I know I always did my best to serve the community and the nation. And I am proud of our many
accomplishments in Erie County and in Congress, You were a critical part of our success and I know the congressional
office will continue to provide exceptional service to our constituents in my absence. We will get through this.

It is important for us to get letters of support from those who know me best and can attest to my character and years of
service and accomplishments. I'm asking you to help in this endeavor. I've attached a letter from my attorneys explaining
what I need and who to address the letter to. The letters should be sent to my attorney as outlined in the instructions.

I'm now a FL resident and will be in FL for a while as the press settles down and moves on.

And feel free to pass this on to anyone you think could be helpful.

All the best, Chris




                                                              1
           Case 1:18-cr-00567-VSB Document 161-2 Filed 01/16/20 Page 5 of 11
BakerHostetler
                                  /HWWHUVWRWKH&RXUW,WHPVWR&RQVLGHU
3XUSRVH/HWWHUVWRWKH&RXUWIURPIDPLO\IULHQGVFROOHDJXHVEXVLQHVVSDUWQHUVDQGRWKHUVDUHDQ
LPSRUWDQWSDUWRIWKHVHQWHQFLQJSURFHVV7KH\KHOSWKH-XGJHOHDUQDERXWWKHGHIHQGDQWDVDSHUVRQDQG
LQGLYLGXDOLQFOXGLQJKLVSULRUJRRGGHHGVFKDULWDEOHDFWVPRUDOFKDUDFWHUSRVLWLYHDWWULEXWHVKLVWRU\RI
FRPPXQLW\VHUYLFHDQGWKHUHPRUVHKHH[KLELWVIRUZKDWKHGLG7KHVHOHWWHUVSURYLGHWKH-XGJHZLWK
SRZHUIXOSRVLWLYHLQIRUPDWLRQDERXWWKHGHIHQGDQWZKLFKKHPLJKWQRWRWKHUZLVHUHFHLYH
)RUPDW/HWWHUVVKRXOGEHDGGUHVVHGWRWKH-XGJH LQIRUPDWLRQEHORZ EXWVHQWWR%DNHU+RVWHWOHU//3
 LQIRUPDWLRQEHORZ 7KHODZILUPZLOOFRRUGLQDWHVXEPLWWLQJWKHOHWWHUVWRWKH&RXUWZKHUHWKH\ZLOOEH
ILOHGSXEOLFO\7RWKHH[WHQWSRVVLEOHOHWWHUVVKRXOGEHW\SHG<RXPD\XVHSHUVRQDORUSURIHVVLRQDO
OHWWHUKHDG3OHDVHGDWHDQGVLJQWKHOHWWHU
6W\OH7KHUHLVQRREOLJDWRU\VW\OHIRUOHWWHUV7KH\VKRXOGEHGUDIWHGLQ\RXUQDWXUDOYRLFHDQGWKH
PDQQHUPRVWFRPIRUWDEOHWR\RX7KHWRQHVKRXOGEHUHVSHFWIXOWRWKH&RXUWEXWQHHGQRWEHRYHUO\
IRUPDO%H\RXUVHOIDQGZULWHLQ\RXURZQZRUGV7KHOHWWHUVKRXOGEHZULWWHQLQWKHILUVWSHUVRQDVD
FRPPXQLFDWLRQIURP\RXWRWKH-XGJH3URSHUJUDPPDUVSHOOLQJDQGSXQFWXDWLRQDUHLPSRUWDQW
7LSVDQG3RLQWHUV:KHQFUDIWLQJDOHWWHUNHHSLQPLQGWKHSXUSRVHDXGLHQFH WKH&RXUW DQGIXQFWLRQ
6RPHWKLQJVWRFRQVLGHUDUH
   x   2QO\ZULWHDERXWWKDWRIZKLFK\RXKDYHSHUVRQDONQRZOHGJHDQGDOZD\VEHWUXWKIXO
   x   ([SODLQ\RXUUHODWLRQVKLSZLWKWKHGHIHQGDQWLQFOXGLQJZKR\RXDUHKRZORQJ\RXKDYHNQRZQ
       WKHGHIHQGDQWDQGLQZKDWFDSDFLW\
   x   0DNHLWSHUVRQDO&RQVLGHUZULWLQJDERXWRQHRUWZRDQHFGRWDOH[SHULHQFHVRUH[DPSOHVWKDW
       KLJKOLJKWWKHGHIHQGDQW¶VSRVLWLYHWUDLWVFKDULWDEOHZRUNJRRGGHHGVFRPPXQLW\VHUYLFH
       JHQHURVLW\PRUDOFKDUDFWHUKRQHVW\ZRUNHWKLFRUGHGLFDWLRQWRIDPLO\DQGFRPPXQLW\HWF
   x   'HVFULEHIRUWKH&RXUWWKHPRVWLPSRUWDQWRIWKHGHIHQGDQW¶VSRVLWLYHTXDOLWLHVDQGFRQWULEXWLRQV
       WRKLVIDPLO\DQGFRPPXQLW\
   x   7RWKHH[WHQW\RXDUHNQRZOHGJHDEOHSURYLGHGHWDLOVDVWRKRZ\RXNQRZWKHGHIHQGDQWKDV
       DFFHSWHGUHVSRQVLELOLW\DQGLVUHPRUVHIXOIRUKLVDFWLRQV
   x   ,WLVDSSURSULDWHWRDFNQRZOHGJHWKHVHULRXVQHVVRIWKHGHIHQGDQW¶VFRQGXFW,I\RXEHOLHYHWKDW
       WKHGHIHQGDQW¶VFULPLQDOFRQGXFWZDVRXWRIFKDUDFWHURUDEHUUDWLRQDOWKDWLVVRPHWKLQJ\RXFDQ
       ZULWHDERXW
   x   'RQRWDUJXHWKDWWKHGHIHQGDQWLVQRWJXLOW\RUDERXWWKHPHULWVRIWKHFDVH,WLVDOVRQRWKHOSIXO
       WRWU\WRPLQLPL]HWKHGHIHQGDQW¶VFRQGXFWRUPDNHH[FXVHVIRUKLVFRQGXFW
   x   'RQRWFULWLFL]HODZHQIRUFHPHQWWKHSURVHFXWRUVRUJRYHUQPHQWRIILFLDOV
   x   'RQRWVXJJHVWWRWKH-XGJHDVSHFLILFW\SHOHQJWKRUDPRXQWRIVHQWHQFH
   x   1HYHUDOORZDQ\RQHHOVHWRZULWHWKHOHWWHUIRU\RX
   x   &RQVLGHUWKDQNLQJWKH-XGJHSROLWHO\IRUFRQVLGHULQJ\RXUOHWWHU
   x   'RQRWKHVLWDWHWRFRQWDFW%DNHU+RVWHWOHU//3ZLWKDQ\TXHVWLRQV
   x   'RQRWDWWHPSWWRFRQWDFWWKH-XGJHRU&RXUWRXWVLGHRISUHSDULQJDOHWWHU VHQWWRFRXQVHO 
<RXVKRXOGQRWYLHZWKHDERYHOLVWDVH[FOXVLYHRUZKROO\LQFOXVLYH
           Case 1:18-cr-00567-VSB Document 161-2 Filed 01/16/20 Page 6 of 11
BakerHostetler
/HQJWK/HWWHUVYDU\IURPDIHZSDUDJUDSKVWRDIHZSDJHVEXWVKRXOGFRQWDLQFUXFLDO \HWFRQFLVH 
GHWDLOVDERXWWKHFKDUDFWHUDQGLQWHJULW\RIWKHGHIHQGDQW
$GGUHVVWKH/HWWHU7R
+RQ9HUQRQ6%URGHULFN
8QLWHG6WDWHV'LVWULFW-XGJH
6RXWKHUQ'LVWULFWRI1HZ<RUN
7KXUJRRG0DUVKDOO8QLWHG6WDWHV&RXUWKRXVH
)ROH\6TXDUH
1HZ<RUN1<

6XEMHFW/LQH<RXPD\LQFOXGHDVXEMHFWOLQHLI\RXZRXOGOLNH,I\RXFKRRVHWRLQFOXGHDVXEMHFWOLQH
XVH³8QLWHG6WDWHVY&KULVWRSKHU&ROOLQV´³&KULV&ROOLQV´RUDVLPLODUIRUPXODWLRQ

6DOXWDWLRQ%HJLQ\RXUOHWWHU³'HDU-XGJH%URGHULFN´

0DLOWKH/HWWHU7R

-RQDWKDQ%DUU
%DNHU+RVWHWOHU//3
&RQQHFWLFXW$YHQXH1:
6XLWH
:DVKLQJWRQ'&

with a scanned copy via email if possible to-

MEDUU#EDNHUODZFRP
MQHZ#EDNHUODZFRP
NZDQJVJDUG#EDNHUODZFRP

&RQWDFWLQJ8V

2XUHPDLODGGUHVVHVDUHDERYHDQGRXUWHOHSKRQHQXPEHUVDUH

-RQDWKDQ%DUU
-RQDWKDQ1HZ
.HQGDOO:DQJVJDUG

2XUID[QXPEHULV
Case 1:18-cr-00567-VSB Document 161-2 Filed 01/16/20 Page 7 of 11




                  %JWJEFS1BHF

    *OUFOUJPOBMMZ-FGU#MBOL
1/9/2020                              Chris Collins is pleading
                        Case 1:18-cr-00567-VSB                  for leniency.
                                                          Document            His criticsFiled
                                                                           161-2          have other ideas – ThePage
                                                                                                01/16/20        Buffalo News
                                                                                                                        8 of 11
               /I<hEP                                                                ¥PkkeiDlNN<Y][IriE]Z¦                                            

THE BUFFALO NEWS


        &KULV&ROOLQVLVSOHDGLQJIRU
        OHQLHQF\+LVFULWLFVKDYHRWKHU
        LGHDV




  .Ie PhQi ]YYQ[iQiZ]DDIGDtkPIehIii<iPIYI<qIi1/QikhQEk ]lhkQ[ <[P<kk<[<NkIhPQi<hh<QO[ZI[kQ[lOlik~|}¥INNIhi][/QIOIY/eIEQ<Yk]
  0PI!Iri¦




         tIhht;hIZiXQ¥PkkeiDlNN<Y][IriE]Z<lkP]hWIhht whIZiXQ¦
        +lDYQiPIG#Ek]DIh~|} Ò 1eG<kIG#Ek]DIh~|}



  ¥Pkkei
  rrN<EID]]XE]ZiP<hIhePe¦
          krQkkIhE]ZQ[kI[kkrIIk¦
                     ¶  n


        7/!0#!¨]hZIh.Ie PhQi ]YYQ[i ][G<tiI[k<[IZ<QYk]NhQI[Gi<[G
        <ii]EQ<kI<iXQ[OkPIZk]hI<EP]lkk]kPIWlGOIQ[PQiQ[iQGIhkh<GQ[OE<iI<[G
        <hOlIN]hYI[QI[Et

         lkY][OkQZI ]YYQ[iEhQkQEieY<[][rhQkQ[Ok]kPIWlGOIk]]¨k]ehIiiN]hWlikkPI
        ]ee]iQkI




https://buffalonews.com/2019/10/07/chris-collins-now-a-florida-resident-asks-friends-for-help-on-sentence/                                                     1/7
1/9/2020                            Chris Collins is pleading
                      Case 1:18-cr-00567-VSB                  for leniency.
                                                        Document            His criticsFiled
                                                                         161-2          have other ideas – ThePage
                                                                                              01/16/20        Buffalo News
                                                                                                                      9 of 11
        0P<kZI<[i1/QikhQEk ]lhklGOI6Ih[][/
                                       lG
                                        lGOI
                                           O 6Ih[]
                                                Ih[]
                                                Ih [][ /
                                                        / h]h]GIhQEXQiYQXIYtk]OIkh<GQE<YYt
                                                             ]GIhQ
                                                              GIhQ
                                                              GI h EX
                                                                    X Qi
                                                                       iYQXI
                                                                            IYt
                                                                              tk
              /I<hEP                                                            ¥PkkeiDlNN<Y][IriE]Z¦                                    
                                       ©GI
                                        GIe<
                                        GIe<
                                           e<hk
                                             hkIG
                                             hkIGG N]l
                                                    ]lh©kI
                                                       h©kI
                                                       h© kIhZ
                                                           IhZ
                                                            hZ Y<r
                                                                <rZ<
                                                                   Z<XI
                                                                   Z<<XI
                                                                       XIh Nh
        GQNNIhI[ke]hkh<t<Yi]NkPI[]r©GIe<hkIGN]lh©kIhZY<rZ<XIhNh]Z   Nh]Z Y<hI[EI¨rP]
                                                                            Nh]Z
        hIEI[kYtZ]qIGk]Y]hQG<¨DIN]hIkPIiI[kI[EQ[OPI<hQ[O[Isk<[}

           ]YYQ[i[]kilhehQiQ[OYtr<[kieI]eYIk]<EEI[kl<kIkPIe]iQkQqI
                                                                                                                      2QOLQH ,Q6WRUHV
        kQiQZe]hk<[kN]hlik]OIkYIkkIhi]Nilee]hkNh]ZkP]iIrP]X[]rZIDIik<[G
        E<[<kkIikk]ZtEP<h<EkIh<[GtI<hi]NiIhqQEI<[G<EE]ZeYQiPZI[ki ]YYQ[i
        rh]kI                                                                                                    8SWR2II
                                                                                                                   (YHU\WKLQJ
        iXIG<D]lk ]YYQ[iYIkkIh QEPIYYI/EP]I[IZ<[¨][I]NkPIE]©N]l[GIhi]Nµ<
        Oh]leE<YYIG QkQwI[iO<Q[ik ]YYQ[i¨i<QG<Oh<iih]]kiINN]hk<YhI<Gtr<i                                     (QGV6RRQ

        l[GIhr<t<Z][OkPIOh]lei||ZIZDIhik]Z<XIilhI h]GIhQEXPI<hiNh]Z
         ]YYQ[iEhQkQEi

        0PIhIr<ii]ZIkPQ[OO]Q[O<h]l[G QkQwI[iO<Q[ik ]YYQ[itIikIhG<trQkPhIO<hGi
        k]kPQirQkPkPI<GGhIii]NkPIWlGOI<iXQ[OeI]eYIk]rhQkIYIkkIhii<tQ[OP]r
        rIrIhIWlik<irQkP]lkhIehIiI[k<kQ][kPI[¥rQkP ]YYQ[iQ[ ][OhIii¦<irI<hI
        []ri<QG/EP]I[IZ<[rP]iIOh]leD]lOPkDQYYD]<hGiEhQkQEQwQ[O ]YYQ[iIqI[
        DIN]hIPQilOlik~|}<hhIik

          ]YYQ[irP]hIiQO[IGNh]Z ][OhIii<[GeYI<GIGOlQYkt
        k]kr]NIY][tEP<hOIiQ[kPIQ[iQGIhkh<GQ[OE<iIY<ik
                                                                           (GLWRUV 3LFNV
        rIIX[]kIGPQiEP<[OI]NhIiQGI[EIQ[<[IZ<QYk]
        NhQI[GiG][]hi<[G<ii]EQ<kIii]lhEIeh]qQGIGkPI
        IZ<QYk]0PI lNN<Y]!Iri
                                                                             }   .]ii IYYQ[] IYYQ[]Ë <h
                                                                                  DhI<XleQ[kPIqIht[I<h          6+2312:

                                                                                                                      6HHVLWHIRUGHWDLOV

                                                                           ¥PkkeiDlNN<Y][IriE]Z~|~|
        Z[]r<hIiQGI[k<[GrQYYDIQ[N]h<rPQYI<ikPI        EIYYQ[]©EIYYQ[]©D<h[Ii©rQYY©DhI<
        ehIiiiIkkYIiG]r[<[GZ]qIi][i<QG ]YYQ[i<                  rQkPQ[©|©G<ti¦ö
                                                                           ¥PkkeiDlNN<Y][IriE]Z~|~|
        .IelDYQE<[rP]ehIqQ]liYtXIekPQiYIO<YhIiQGI[EIQ[
                                                                           EIYYQ[]©EIYYQ[]©D<h[Ii©rQYY©DhI<
          Y<hI[EIrPQYIZ<Q[k<Q[Q[OP]ZIiQ[ <hE]iY<[GY<           rQkPQ[©|©G<ti¦
        <[G <[P<kk<[

        [kPIIZ<QY ]YYQ[i<Yi]eh]qQGIGi]ZIQ[iQOPk<ik]rPt          ~     lh[ilhqQq]helki<O][t]
                                                                                  DIPQ[GPIh<iPIhIsOIki~
        PIeYI<GIGOlQYkt<NkIhQ[iQikQ[ON]h}Z][kPikP<kPIr<i
        Q[[]EI[kIGQGQkPIi<QGQ[e<hkk]PIYePQii][             ¥PkkeiDlNN<Y][IriE]Z~|~|
                                                                           <©eP]I[Qs©Dlh[©ilhqQq]h©hQiIi©
          <ZIh][rP]<Yi]eYI<GIGOlQYktQ[kPIQ[iQGIhkh<GQ[O
                                                                           <iPIi©hI<Gt©k]©PIYe©]kPIhi¦ö
        E<iIY<ikrIIX                                                    ¥PkkeiDlNN<Y][IriE]Z~|~|
                                                                           <©eP]I[Qs©Dlh[©ilhqQq]h©hQiIi©
        NIIYYQXIqIYIkIqIht][IG]r[Dlk]lhGIEQiQ][k]           <iPIi©hI<Gt©k]©PIYe©]kPIhi¦
        eYI<GOlQYktQikPIhQOPkGIEQiQ][N]h <ZIh][<[GkPI
        N<ZQYt ]YYQ[ii<QG
                                                                                -lQIk+Y<EI+<hkkh<QY
                                                                                  ]lk <[t]lie]kkPI7!9
                                                                            Y<[GZ<hXiµ
                                                                            ¥PkkeiDlNN<Y][IriE]Z~|~|
                                                                           -glQIk©eY<EI©e<hk©QQ©kh<QYIh©Qi©]l
                                                                              - - --- ---------
                                                                            t]l©ie]k©kPI©r[t©Y<[GZ<hXi¦
                                                                            ¥PkkeiDlNN<Y][IriE]Z~|~|
                                                                           -glQIk©eY<EI©e<hk©QQ©kh<QYIh©Qi©]l
                                                                              - - --- ---------
                                                                            t]l©ie]k©kPI©r[t©Y<[GZ<hXi¦



                                                                               h]itO]Ii][khQ<YhI
                                                                                 ieIEQ<YQik<EEliIGQ[iQsGI
                                                                           ¥PkkeiDlNN<Y][IriE]Z~|} 
                                                                           Q[©iQs©GI<kPi©EY<hI[EI©e<Q[©ZI
                                                                           G]Ek]h©O]Ii©][©khQ<Y¦ö
                                                                           ¥PkkeiDlNN<Y][IriE]Z~|} 
          ]YYQ[ieYI<GIGOlQYktk]E][ieQh<Etk]E]ZZQkiIElhQkQIi         Q[©iQs©GI<kPi©EY<hI[EI©e<Q[©ZI
                                                                           G]Ek]h©O]Ii©][©khQ<Y¦
        Nh<lG<[GYtQ[Ok]kPI rPQYIPQii][<[G/kIePI[
        ;<hiXt¨ <ZIh][ ]YYQ[ieh]ieIEkQqIN<kPIh©Q[©Y<r¨
        eYI<GIGOlQYkt][Ytk]kP<kE][ieQh<EtEP<hOI

https://buffalonews.com/2019/10/07/chris-collins-now-a-florida-resident-asks-friends-for-help-on-sentence/                                        2/7
1/9/2020                            Chris Collins is pleading
                      Case 1:18-cr-00567-VSB                  for leniency.
                                                       Document             His critics
                                                                        161-2           have other
                                                                                     Filed         ideas – The
                                                                                             01/16/20          Buffalo10
                                                                                                             Page     News
                                                                                                                         of 11
        0PIt<EX[]rYIGOIGk<XQ[Oe<hkQ[<[Q[iQGIhkh<GQ[O
               /I<hEP
                                       kkQ[
                                       iZ
                                           Q[ <[Q[
                                         Z<[
                                                  [iQGI
                                              [ P<k
                                                   iQGI
                                                   iQ
                                                 <kEP
                                                      GI k <GQ[
                                                      GIhkh
                                                     PIG
                                                            <GQ[O
                                                            <G  O
                                                        G Q[ < eP
        iEPIZIkP<kkPIkPI[©E][OhIiiZ<[P<kEPIGQ[<eP][I    eP][
                                                                 ][I
                                                                  [I         ¥PkkeiDlNN<Y][IriE]Z¦
                                                                                
                                                                                 []lkDhI<X]N<PQOPYt
                                                                                 E][k<OQ]liqQhli<Z][OD<
                                                                                 E                                               
        E<YYk]PQii][Nh]ZkPI7PQkI]liIY<r[Q[l[I~|}

        D]<hGZIZDIh]N<[likh<YQ<[DQ]kIEPE<YYIG[[<kIZZl[]kPIh<eIlkQEi
          ]YYQ[iO]k<[IZ<QYGlhQ[O<7PQkI]liIeQE[QENh]ZkPIE]Ze<[ti #0PI
        IZ<QY[]kIGkP<kkPIE]Ze<[ti][Yteh]GlEk<ZlYkQeYIiEYIh]iQiGhlOP<GN<QYIG
        Q[EYQ[QE<YkhQ<Yi

        []rQ[OkPI[Irir]lYGGIq<ik<kI[[<kIiik]EXehQEI ]YYQ[iE<YYIGPQii][rP]
        ik<hkIGGlZeQ[OPQi[[<kIiP<hIikPI[IskG<tDIN]hIkPIE]Ze<[t<[[]l[EIG
        kP<kQki][Yteh]GlEkr<iIiiI[kQ<YYtr]hkPYIii <ZIh][ ]YYQ[i<Yi]k]YG;<hiXt
        <[G]kPIhikPIQ[iQGIQ[N]hZ<kQ][<D]lk[[<kI<[G;<hiXtGlZeIGPQiik]EXk]]

        0PIN]hZIhE][OhIiiZ<[<EX[]rYIGOIGQ[E]lhkY<ik
                                                                                ./ #!/
        rIIXkP<kPIX[IrrP<kPIr<iG]Q[Or<iQYYIO<YrPI[PI
        O<qIPQii][kP<kik]EXkQeDlkPIikhlEX<ZlEPGQNNIhI[k
        k][IQ[PQiIZ<QYk]PQiNhQI[Gi                                     ,/(77+(0'2:1
                                                                              &2//,166$<62)
        X[]r<Yr<tiGQGZtDIikk]iIhqIkPIE]ZZl[Qkt<[G               &2167,78(176
        kPI[<kQ][PIi<QG[G<Zeh]lG]N]lhZ<[t                     )$0,/<$)7(5
        <EE]ZeYQiPZI[kiQ[hQI ]l[kt<[GQ[ ][OhIii9]l                   *8,/7<3/($
        rIhI<EhQkQE<Ye<hk]N]lhilEEIii<[GX[]rkPI
                                                                               &+5,
        E][OhIiiQ][<Y]NxEIrQYYE][kQ[lIk]eh]qQGIIsEIekQ][<Y
                                                                              &2//,163/($'6
        iIhqQEIk]]lhE][ikQklI[kiQ[Zt<DiI[EI7IrQYYOIk
        kPh]lOPkPQi
                                                                              *8,/7<72
                                                                              &2163,5,1*72
        ]h[]rkP]lOP ]YYQ[i<EX[]rYIGOIGkP<kPI[IIGIG                  &200,7
        PQiNhQI[GiPIYeDIN]hIPQiiI[kI[EQ[O0PIeYI<                     6(&85,7,(6)5$8
        <OhIIZI[k ]YYQ[iiQO[IGrQkPeh]iIElk]hii<tiPIrQYY                )$/6(
        []k<eeI<Y<iI[kI[EI]Nlek]Z][kPiQ[ehQi][Dlk               67$7(0(176
        l[GIhNIGIh<YiI[kI[EQ[OhlYIikPIWlGOIE]lYGOQqI
         ]YYQ[iIQkPIhZ]hI]hYIiikQZI                                     0P]iIrP]E]ZeY<Q[IG<D]lk
                                                                               PhQi ]YYQ[iDhI<kPIiQOP]N
                                                                              hIYQIN ¥~|} }||hIYQIN©<
        ]eQ[OkP<kPIrQYYOIk<YIiiIhiI[kI[EI ]YYQ[i<kk<EPIG           i<kQiN<EkQ][©kP]iI©rP]©
        k]kPIIZ<QY<N]hZYIkkIhNh]ZPQiY<rtIhirQkP<GqQEI][            E]ZeY<Q[IG©<D]lk©E]YYQ[i©
                                                                              DhI<kPI©<©iQOP©]N©hIYQIN¦
        P]rk]eYI<N]hYI[QI[Et
                                                                              #+YI<GIhi<G]ekO]iY]r
         <XIQkeIhi][<YkPIYIkkIhNh]ZkPI <XIh]ikIkYIhY<r            <eeh]<EPk]iIIXQ[O ]YYQ[i
                                                                              ilEEIii]h ¥~|} }||~O]
        xhZi<QG ][iQGIhrhQkQ[O<D]lk][I]hkr]<[IEG]k<Y                YI<GIhi©<G]ek©O]©iY]r©
        IseIhQI[EIi]hIs<ZeYIikP<kPQOPYQOPkkPIGINI[G<[k³i                <eeh]<EP©k]©iIIXQ[O©E]YYQ[i
                                                                              ilEEIii]h¦
        e]iQkQqIkh<QkiEP<hQk<DYIr]hXO]]GGIIGiE]ZZl[Qkt
        iIhqQEIOI[Ih]iQktZ]h<YEP<h<EkIhP][Iiktr]hXIkPQE              YQ[GiQGIGDthIiQO[<kQ][
        ]hGIGQE<kQ][k]N<ZQYt<[GE]ZZl[QktIkE                          Y]t<YQikii<t ]YYQ[iEP<[OIG
                                                                              k]iPQIYGi][
                                                                              ¥~|} }||}DYQ[GiQGIG©Dt
          ]YYQ[iG]Ii[kr<[kilEPYIkkIhik]WlikE]ZINh]ZPQi              hIiQO[<kQ][©E]YYQ[i©Y]t<YQiki
                                                                              PI©eYI<GIG©OlQYkt©k]©iPQIYG©
        EY]iIik<ii]EQ<kIiIQkPIh
                                                                              i][¦

        IIYNhIIk]e<iikPQi][k]<[t][It]lkPQ[XE]lYGDI                 liQ[IiikQIilYkQZ<kIYtieIY
                                                                              G]]ZN]h ]YYQ[iE][OhIiiQ]
        PIYeNlYPI<GGIGQ[kPIIZ<QY                                      E<hIIh ¥~|} | |DliQ[
                                                                              kQIi©x[<YYt©ieIYY©G]]Z©N]h©
        kiE]ZZ][N]hrPQkI©E]YY<hNIY][ik]iIIXilEPYIkkIhi             E]YYQ[i©E][OhIiiQ][<Y©E<hIIh

        ]hIs<ZeYI lNN<Y]GIqIY]eIh]lQi QZQ[IYYQE]YYIEkIG              k<YYik<hkIGrQkP<[IZ<QY<k
        [lZIh]liYIkkIhi]Nilee]hkDIN]hI<NIGIh<YWlGOIY<ik               eQE[QE0QZIYQ[I]NQ[iQGIh
                                                                              kh<GQ[OE<iI
        tI<hiI[kI[EIGPQZk]~Z][kPiQ[ehQi][                            ¥~|} | |EPhQi©E]YYQ[i©
                                                                              Q[iQGIh©kh<GQ[O©E<iI©kQZIYQ[
          lkkPIWlGOIQ[kPI ]YYQ[iE<iIZ<tOIk<[l[E]ZZ][Yt
        Y<hOI[lZDIh]NYIkkIhiNh]Z ]YYQ[iN]hZIhE][ikQklI[ki
        Q[!Ir9]hXi~kP ][OhIiiQ][<YQikhQEk<ikhIkEP]N

https://buffalonews.com/2019/10/07/chris-collins-now-a-florida-resident-asks-friends-for-help-on-sentence/                           3/7
1/9/2020                               Chris Collins is pleading
                         Case 1:18-cr-00567-VSB                  for leniency.
                                                          Document             His critics
                                                                           161-2           have other
                                                                                        Filed         ideas – The
                                                                                                01/16/20          Buffalo11
                                                                                                                Page     News
                                                                                                                            of 11
        ilDlhDi<[GE]l[khtiQGIDIkrII[
                                    II
                                    II[
                                       [ l
                                         lNN<Y]<[G.]EPIikIh
                                           NN<Y
                                             <YY]
                                             <  ]<[
                                                   < G
                                                     G .]
                                                        ]EP
                                                          E IikI
                                                            IikI
                                                            IikIh
                                                                 h
                /I<hEP                                                                   ¥PkkeiDlNN<Y][IriE]Z¦                        
        Y][OrQkPkPI[<iEI[ki]EQ<YZIGQ<E<Ze<QO[<Z][OZIZDIhi]N QkQwI[iO<Q[ik
         ]YYQ[i¨[]rE<YYIG!9©~N]h.I<YI<GIhiPQe¨Y]E<Yeh]OhIiiQqIDY]OOIhY<[
         IGI[X]<Yi]krIIkIG]lkkPIWlGOIi<GGhIii

        #kPIhik]]Xk]0rQkkIhk]IsehIiikPIQhkP]lOPki

        ³ZikQYYr]hXQ[O][ZtYIkkIhk]kPIWlGOI lk³Z[]k<iXQ[ON]hYI[QI[Eti<QG
        <kQI7IDikIh< Y<hI[EIZ]kPIh]NkPhII<[GY][OkQZIEhQkQE]N ]YYQ[i0PQiQi
        Wlik<[]kPIhE]r<hGYt<EkDt PhQi ]YYQ[i

        /EP]I[IZ<[i<QGZ<[t ]YYQ[iEhQkQEirQYYrhQkIk]kPIWlGOIX[]rQ[OkP<kQkrQYY
        ][YtG]i]ZlEPO]]G

        IrQYYe<tPQiGIDkk]i]EQIktkPh]lOPPQiehQi][kQZIDlkPIrQYY[IqIhDI<DYIk]
        e<tN]hkPIG<Z<OIPIGQGk]!9©~kPh]lOPe]]h<[G<DiI[kIIYI<GIhiPQeiPI
        i<QG



                      ¥PkkeiDlNN<Y][IriE]Z<lkP]hWIhht whIZiXQ¦Ihht;hIZiXQ¨Ihht;hIZiXQQi0PI
                        lNN<Y]!Iri7<iPQ[Ok][DlhI<lEPQIN!Iriik<NNIhiQ[EI} PIr][kPI<qQGt[EP
                        IZ]hQ<Y.Ie]hkQ[Or<hGN]hhIOQ][<YE]qIh<OI]N ][OhIiiQ[~|}




           7+$1.6)256833257,1*/2&$/-2851$/,60
           /QO[leN]hIZ<QY[IriYIkkIhii]t]l[IqIhZQii<ik]ht

            /QO[le¥PkkeiDlNN<Y][IriE]Z[IriYIkkIhlkZi]lhEIÂ<hkQEYIËlkZE<Ze<QO[Âilee]hk[Ir


             YQEXk]iIIkPIE]ZZI[ki                                                                     




  5HFRPPHQGHGIRU\RX




    ¥~|~||}|I[G©]N©<[©Ih<©ikIhI]©<Gq<[k<OI©ik]hI©EY]iIi©E]Ze<[t©kh<[iQkQ][i©k]©[<kQ][rQGI©hIe<Qh©DliQ[IiilkZZIGQlZÂZ]hIik]hQIi¦
      (QGRIDQHUD6WHUHR$GYDQWDJHVWRUHFORVHVDVFRPSDQ\IRFXVHVRQUHSDLUEXVLQHVV
       HQGRIDQHUDVWHUHRDGYDQWDJHVWRUHFORVHVFRPSDQ\WUDQVLWLRQVWRQDWLRQZLGH
      UHSDLUEXVLQHVV"XWPBPHGLXP PRUHBVWRULHV
https://buffalonews.com/2019/10/07/chris-collins-now-a-florida-resident-asks-friends-for-help-on-sentence/                                     4/7
